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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )                  8:13CR138
                       Plaintiff,                )
                                                 )
       vs.                                       )                   ORDER
                                                 )
DANNY JUNIOR BRAVO,                              )
                                                 )
                       Defendant.                )


       This matter is before the court on the motion for an extension of time by defendant Danny
Junior Bravo (Bravo) (Filing No. 44). Bravo seeks until July 31, 2013, in which to file pretrial
motions in accordance with the progression order. Bravo has filed an affidavit wherein he
consents to the motion and acknowledges he understands the additional time may be excludable
time for the purposes of the Speedy Trial Act (Filing No. 45). Bravo's counsel represents that
government's counsel has no objection to the motion. Upon consideration, the motion will be
granted.


       IT IS ORDERED:
       Defendant Bravo's motion for an extension of time (Filing No. 44) is granted. Bravo is
given until on or before July 31, 2013, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising as a
result of the granting of the motion, i.e., the time between July 2, 2013, and July 31, 2013, shall
be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel requires additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).
       DATED this 2nd day of July, 2013.
                                                     BY THE COURT:

                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
